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                                                               Thursday, 09 August, 2018 06:26:23 PM
                                                                         Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

                         MOTION FOR LEAVE TO FILE REPLY

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion for Leave to File Reply states as follows:

       1.     On July 23, 2018, the Defendant filed a Motion for the Discovery of

Information Concerning the Grand and Petit Jury Venire. (Docket Number 83).

       2.     The Government a Response to that Motion on August 6, 2018. (Docket

Number 89)

       3.     The Defendant is in the process of preparing a Reply to the Response, and

requests leave of Court to do so by Friday, August 17, 2018.

       WHEREFORE, Defendant requests that this Court enter an Order granting leave

to file a Reply to Docket Number 89.




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     Respectfully submitted,

     /s/Elisabeth R. Pollock                 /s/ George Taseff
     Assistant Federal Defender              Assistant Federal Defender
     300 West Main Street                    401 Main Street, Suite 1500
     Urbana, IL 61801                        Peoria, IL 61602
     Phone: 217-373-0666                     Phone: 309-671-7891
     FAX: 217-373-0667                       Fax: 309-671-7898
     Email: Elisabeth_Pollock@fd.org         Email: George_Taseff@fd.org

     /s/ Robert Tucker                       /s/ Julie Brain
     Robert L. Tucker, Esq.                  Julie Brain, Esq.
     7114 Washington Ave                     916 South 2nd Street
     St. Louis, MO 63130                     Philadelphia, PA 19147
     Phone: 703-527-1622                     Phone: 267-639-0417
     Email: roberttuckerlaw@gmail.com        Email: juliebrain1@yahoo.com




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                              CERTIFICATE OF SERVICE

      I hereby certify that on August 9, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and

Trial Attorney James B. Nelson. A copy was also mailed to the defendant.

                                         /s/Elisabeth R. Pollock
                                         Assistant Federal Public Defender
                                         300 West Main Street
                                         Urbana, IL 61801
                                         Phone: 217-373-0666
                                         FAX: 217-373-0667
                                         Email: Elisabeth_Pollock@fd.org




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